  Case: 1:17-md-02804-DAP Doc #: 5675 Filed: 10/09/24 1 of 7. PageID #: 647428




                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION                           MDL No. 2804
OPIATE LITIGATION                                      Case No. 17-md-2804

THIS DOCUMENT RELATES TO:                              Judge Dan Aaron Polster

United Food and Commercial Workers                     Case No. 1:17-OP-45177
Health and Welfare Fund of Northeastern                Case No. 1:18-OP-45002
Pennsylvania                                           Case No. 1:18-OP-46223
                                                       Case No. 1:18-OP-46186
Sheet Metal Workers Local No. 25
Health & Welfare Fund

Louisiana Assessors Insurance Fund

Pioneer Telephone Cooperative Inc. Employee
Benefits Plan


       THIRD PARTY PAYOR BELLWETHERS’ NOTICE OF CLAIMS TO BE
        LITIGATED AS PART OF CURRENT BELLWETHER PROCEEDING

       On October 2, 2024, this Court entered the Second Amended Case Management Order for

Third Party Payor Bellwether Cases (the “CMO”). ECF 5666. The Third Party Payor Bellwether

Cases include United Food and Commercial Workers Health and Welfare Fund of Northeastern

Pennsylvania v. Purdue Pharma, LP, et al., (“UFCW NEPA”), Case No. 1:17-OP-45177; Local

No. 25 Sheet Metal Workers Health & Welfare Fund v. Purdue Pharma, LP, et al., (“Local 25”),

Case No. 1:18-OP-45002; Louisiana Assessors Insurance Fund a/k/a The Insurance Committee of

the Assessors’ Insurance Fund v. AmerisourceBergen Drug Corp., et al., (“LAIF”), Case No. 1:18-

OP-46223; and Pioneer Telephone Cooperative Inc. Employee Benefits Plan et al. v. Purdue

Pharma, LP, et al., (“Pioneer”), Case No. 1:18-OP-46186. ECF 5225.

       The Second Amended CMO provides that within seven days following its entry, i.e., by

October 9, 2024, each TPP Bellwether Plaintiff shall identify in a formal notice filed on the docket,
    Case: 1:17-md-02804-DAP Doc #: 5675 Filed: 10/09/24 2 of 7. PageID #: 647429




the claims to be litigated as part of the current bellwether proceedings as reflected in Special Master

David R. Cohen’s email dated September 27, 2024. Dkt. No. 5666 at §(A)(1). The CMO further

provides that the remaining claims from each complaint will be severed pursuant to Fed.R.Civ.P.

42(b) and stayed pending further Order.1 Id.

        NOW COME the TPP Bellwether Plaintiffs who identify the following claims to be

litigated as part of the current bellwether proceeding, while fully reserving all other claims, which

are severed and stayed:2


        UFCW NEPA – Case Track 16 (CT16):
        1. RICO Claims
        2. Consumer Fraud Claim
        3. Civil Conspiracy
        Local 25 – Case Track 17 (CT17):
        1. RICO Claims
        2. Civil Conspiracy
        LAIF – Case Track 18 (CT18):
        1. RICO Claims
        2. Louisiana State Racketeering Claims
        3. Civil Conspiracy
        4. Louisiana Unfair Trade Practices/ Consumer Protection Claim
        Pioneer – Case Track 19 (CT19):
        1. RICO Claims
        2. Civil Conspiracy




1
  Thus, the only claims that Defendants will be required to move to dismiss or answer at this time
are those claims identified in this notice. See Dkt. No. 5666.
2
  TPP Bellwether Plaintiffs’ Amended Complaints assert a variety of claims against Defendants.
In addition to the claims to be litigated listed here, Plaintiffs requested that their unjust enrichment
claims (Local 25 and Pioneer) and ERISA claim (Pioneer) be included in the claims to be litigated
in their respective bellwether tracks. See, e.g. Dkt. No. 5666, n. 2. Despite Plaintiffs’ intention to
pursue these additional claims now, the Court made a case management decision to sever the TPP
Bellwether Plaintiffs’ claims other than (1) Federal RICO and state law analogs; (2) Conspiracy;
and (3) Consumer Fraud, as reflected in Special Master Cohen’s email dated September 27, 2024,
and in turn, memorialized here.

                                                   2
  Case: 1:17-md-02804-DAP Doc #: 5675 Filed: 10/09/24 3 of 7. PageID #: 647430




       WHEREFORE, Third Party Payor Bellwethers pray this notice be deemed good and

sufficient, and further reserve all claims severed and stayed.

       Dated: October 9, 2024              Respectfully submitted,

                                           Plaintiffs’ Co-Lead Counsel

                                           Jayne Conroy
                                           SIMMONS HANLY CONROY
                                           112 Madison Avenue, 7th Floor
                                           New York, NY 10016
                                           (212) 784-6400
                                           jconroy@simmonsfirm.com

                                           Joseph F. Rice
                                           MOTLEY RICE LLC
                                           28 Bridgeside Blvd.
                                           Mt. Pleasant, SC 29464
                                           (843) 216-9000
                                           (843) 216-9290 (Fax)
                                           jrice@motleyrice.com

                                           Paul T. Farrell, Jr., Esq.
                                           FARRELL & FULLER LLC
                                           270 Munoz Rivera Avenue
                                           San Juan, PR 00918
                                           (304) 654-8281
                                           paul@farrellfuller.com

                                           Plaintiffs’ Liaison Counsel

                                            s/Peter Weinberger
                                           Peter H. Weinberger
                                           SPANGENBERG SHIBLEY & LIBER, LLP
                                           1001 Lakeside Avenue, E, Suite 1700
                                           Cleveland, OH 44114
                                           (216) 696-3232
                                           (216) 696-3924 (Fax)
                                           pweinberger@spanglaw.com




                                                 3
  Case: 1:17-md-02804-DAP Doc #: 5675 Filed: 10/09/24 4 of 7. PageID #: 647431




Counsel for United Food and Commercial Workers Health and Welfare Fund of
Northeastern Pennsylvania, and Sheet Metal Workers Local No. 25 Health and
Welfare Fund:

Eric L. Young
Brandon J. Lauria
YOUNG LAW GROUP, P.C.
3031C Walton Road, Suite 301
Plymouth Meeting, PA 19462
Phone: 215-367-5151
Fax: 215-367-5143
Eyoung@young-lawgroup.com
Blauria@young-lawgroup.com

Counsel for Plaintiff

James R. Dugan, II
David S. Scalia
Monica M. Vela-Vick
THE DUGAN LAW FIRM, APLC
365 Canal Street
One Canal Place, Suite 1000
New Orleans, LA 70130
Phone: 504-648-0180
Fax: 504-648-0181
jdugan@dugan-lawfirm.com
dscalia@dugan-lawfirm.com
monica@dugan-lawfirm.com


MDL Chair TPP Committee of the Executive Committee and Counsel for Plaintiff

W. Mark Lanier
Alex Abston
THE LANIER LAW FIRM, PC
10940 W. Sam Houston Pkwy N. Ste 100
Houston, TX 77064
Tel: 713-659-5200
Fax: 713-659-2204
mark.lanier@lanierlawfirm.com
alex.abston@lanierlawfirm.com




                                            4
 Case: 1:17-md-02804-DAP Doc #: 5675 Filed: 10/09/24 5 of 7. PageID #: 647432




Evan Janush
THE LANIER LAW FIRM, PLLC
535 Madison Ave., 12th Floor
New York, NY 10022
Tel: 212-421-2800
Fax: 212-253-4094
evan.janush@lanierlawfirm.com

Roberta D. Liebenberg
FINE, KAPLAN AND BLACK, R.P.C.
One South Broad Street, 23rd Floor
Philadelphia, PA 19107
Phone: 215-567-6565
rliebenberg@finekaplan.com

Richard J. Hollawell
RICHARD J. HOLLAWELL & ASSOCIATES
121 Saratoga Lane
Woolwich Township, NJ 08085
Phone: 800-681-3550
rjh@richardhollawell.com



Counsel for Pioneer Telephone Cooperative, Inc. Employee Benefits Plan:

 Elizabeth J. Cabraser
 Eric B. Fastiff
 LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
 275 Battery Street, 29th Floor San
 Francisco, CA 94111-3339
 Telephone: (415) 956-1000
 Facsimile: (415) 956-1008
 ecabraser@lchb.com
 efastiff@lchb.com


 Paulina do Amaral
 LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
 250 Hudson Street, 8th Floor New
 York, New York 10013-1413
 Telephone: (212) 355-9500
 Facsimile: (212) 355-9592
 pdoamaral@lchb.com



                                           5
Case: 1:17-md-02804-DAP Doc #: 5675 Filed: 10/09/24 6 of 7. PageID #: 647433




Dan Drachler
LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
1215 Fourth Avenue, Suite 1350
Seattle, WA 98161
Telephone: (206) 895-5005 ext. 2373
Facsimile: (206) 895-3131
ddrachler@lchb.com


Counsel for Louisiana Assessors’ Insurance Fund a/k/a The Insurance Committee of The
Assessors’ Insurance Fund:

IRPINO, AVIN & HAWKINS
Anthony D. Irpino
Pearl A. Robertson
2216 Magazine Street
New Orleans, LA 70130
Telephone: (504) 525-1500
Facsimile: (504) 525-1501
airpino@irpinolaw.com
probertson@irpinolaw.com

STAG LIUZZA, L.L.C.
Michael G. Stag
Ashley M. Liuzza
D. Rogenes
One Canal Place
365 Canal Street, Suite 2850
New Orleans, Louisiana 70130
Telephone: (504) 593-9600
Facsimile: (504) 593-9601
mstag@stagliuzza.com
aliuzza@stagliuzza.com
mrogenes@stagliuzza.com

ALVENDIA, KELLY & DEMAREST, LLC
Roderick Alvendia
J. Bart Kelly
Jeanne Demarest
909 Poydras Street, Suite 1625
New Orleans, Louisiana 70112
Telephone: (504) 200-0000


                                         6
  Case: 1:17-md-02804-DAP Doc #: 5675 Filed: 10/09/24 7 of 7. PageID #: 647434




Facsimile: (504) 200-0001
rico@akdlalaw.com
bart@akdlalaw.com
jeanne@akdlalaw.com

SMITH & FAWER, L.L.C.
Randall A. Smith
Stephen M. Gelé
201 St. Charles Avenue, Suite 3702
New Orleans, Louisiana 70170
Telephone: (504) 525-2200
Fax: (504) 525-2205
rasmith@smithfawer.com
sgele@smithfawer.com

JOHN YOUNG LAW FIRM, LLC
John F. Young
3408 6th Street
Metairie, La. 70002
Telephone: (504) 352-8855
john@johnyoungla.com


                                 CERTIFICATE OF SERVICE

        I hereby certify that on October 9, 2024, I electronically filed the foregoing with the Clerk
of the Court by using the CM/ECF system. Copies will be served upon counsel of record by, and
may be obtained through, the Court CM/ECF system.

                                              s/Peter H. Weinberger
                                              Peter H. Weinberger




                                                 7
